          Case 5:17-cv-00221-JLH Document 13 Filed 10/10/17 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

PATRICK E. JONES                                                                      PLAINTIFF

v.                                  NO. 5:17CV00221 JLH

UNITED STATES OF AMERICA (originally
named as Phillip Pennington, DDS)                                                  DEFENDANT

                                         JUDGMENT

       Pursuant to the Order entered separately today, this action is dismissed for lack of subject

matter jurisdiction.

       IT IS SO ORDERED this 10th day of October, 2017.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
